      Case 5:03-cr-00005-MCR-CJK      Document 84    Filed 10/08/08   Page 1 of 1

                                                                             Page 1 of 1


                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            PANAMA CITY DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No:     5:03cr5/MCR
                                                           5:08cv266/MCR/MD
STACY L. BUTLER

                                  /
                                      ORDER
        This cause comes on for consideration upon the magistrate judge's report and
recommendation dated August 27, 2008.         The defendant previously has been
furnished a copy of the report and recommendation and has been afforded an
opportunity to file objections pursuant to Title 28, United States Code, Section
636(b)(1), and I have made a de novo determination of those portions to which an
objection has been made.
        Having considered the report and recommendation and all objections thereto
timely filed by the parties, I have determined that the report and recommendation
should be adopted.
        Accordingly, it is now ORDERED as follows:
        1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
        2.    The motion to vacate, set aside, or correct sentence pursuant to 28
U.S.C. § 2255 (doc. 153) is summarily DISMISSED as untimely.


        DONE AND ORDERED this 8th day of October, 2008.



                                        s/   M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
